         Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    :
UNITED STATES OF AMERICA            :
                                    :
     v.                             :
                                    :   No. 21-CR-68 (TNM)
JENNY LOUISE CUDD,                  :
                                    :
                    Defendant.      :
____________________________________:

         GOVERNMENT’S NOTICE REGARDING SENTENCING BASED ON
         DEFENDANT’S REPUDIATION OF AN ELEMENT OF THE OFFENSE

       The United States of America, by and through its counsel, the United States Attorney for

the District of Columbia, provides the following notice in advance of sentencing in this case, which

is scheduled for tomorrow, March 23, 2022, at 4 p.m. It is the government’s position that the

defendant has repudiated an element of the offense through statements reflected in the Presentence

Investigation Report and made in her Sentencing Memorandum. If the defendant persists in her

repudiation of the element of the offense, the government respectfully requests that the Court

continue the sentencing so that the government may determine what steps, if any, are appropriate.

       In addition, the defendant’s request for sanctions against the government in the form of

dismissal of this matter should be denied. As confirmed by this Court’s oral findings in United

States v. Couy Griffin, 21-cr-92-TNM, the government has not violated any discovery obligation

with respect to the location of the Vice President on January 6, 2021.

                                 FACTUAL BACKGROUND

       On January 6, 2021, Defendant Jenny Cudd unlawfully entered the Capitol. On January 6,

2021, prior to her entry, Cudd posted a Facebook live video in which she stated:

       Hey Patriots, Eliel and I are walking to the Capitol. They’re already pepper spraying
       – the police are pepper spraying Trump supporters down there. Sancho called me
         Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 2 of 9




       and told me that. . . . Pence has already betrayed us. President knew it was going to
       happen. He said many times in his speech, he said, ‘I sure hope Pence does the right
       thing. But I’m hearing lots of stories that he won’t.’ Well get on Twitter, and you
       can see what Pence said. So we’re headed down to the Capitol. And we’re going to
       see what happens. Patriots have already pushed back one barricade. I think there
       are plenty of us that are willing to storm the Capitol. National Guard’s out. I can
       tell you one thing – with all the people that drove here, there’s also plenty of armed
       patriots.

After, at approximately 2:35 p.m., Cudd entered the U.S. Capitol building through the Upper West

Terrace Door. While inside, she walked through the Rotunda, Statuary Hall area, and an area near

the House Chamber. She exited through the Upper House Door at approximately 2:54 p.m.

       After leaving the Capitol, Cudd posted another Facebook live video. In the video, she made

the following statements:

      “And when Pence betrayed us is when we decided to storm the Capitol.”

      “We just pushed and pushed and pushed and pushed and yelled ‘go’ and yelled ‘charge’

       and on and on and on and on.”

      We didn’t vandalize anything. But we did. We did, as I say that. We did break down Nancy

       Pelosi’s office door and somebody stole her gavel and took a picture sitting in the chair

       flipping off the camera.”

      “So we stayed in the Capitol as long as we could until they started gassing us.”

      “[F]uck yes, I am proud of my actions, I fucking charged the Capitol today with patriots

       today. Hell, yes I am proud of my actions.”

      “I’m proud of everything that I was a part of today. And I’ll be proud of everything that

       I’m a part of at the next one.”

       On January 8, 2021, Cudd participated in an interview with a news station in which she

described her actions on January 6, 2021, in Washington D.C. and reiterated her pride in storming

the Capitol. Specifically, she stated, “Yes, I would absolutely do it again.”

                                                 2
         Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 3 of 9




       Cudd is charged by indictment with: (1) Obstruction of an Official Proceeding, and Aiding

and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2; (2) Entering and Remaining in a

Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); (3) Disorderly and

Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2);

(4) Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D); and (5)

Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(G). See Indictment (ECF 18).

       On October 13, 2021, Cudd pled guilty to one count of violating 18 U.S.C. § 1752(a)(1),

Entering and Remaining in a Restricted Building or Grounds. See Plea Agreement (ECF 75).

Under 18 U.S.C. § 1752(a)(1), the government must prove that the defendant “knowingly enters

or remains in any restricted building or grounds without lawful authority to do so.” The plea

agreement documents, the Plea Agreement and Statement of Offense, were filed on October 13,

2021. See ECF 75, 76. Paragraph 3 of the Plea Agreement provides, “Your client agrees that the

attached “Statement of Offense” fairly and accurately describes your client’s actions and

involvement in the offense(s) to which your client is pleading guilty.” ECF 75 ¶ 3. On the final

page of the Plea Agreement, under the header “Defendant’s Acceptance,” the agreement provides,

“I am pleading guilty because I am in fact guilty of the offense(s) identified in this Agreement.”

Id. at 11. Cudd then signed the agreement under this statement. Id.

       The Statement of Offense, attached to the Plea Agreement, sets forth the factual basis for

the plea. See SOO (ECF 76). Relevant here, paragraph 16 of the Statement of Offense provides,

“When the defendant entered the U.S. Capitol Building on January, it was a restricted building.

The defendant knew at the time she entered the U.S. Capitol Building that she did not have lawful




                                                3
          Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 4 of 9




authority to enter the building.” The Court accepted the defendant’s plea, and then scheduled the

matter for sentencing.

       On March 10, 2022, the U.S. Probation Officer filed the final Presentence Investigation

Report (PSR). The PSR quotes Cudd’s statements in the presentence interview. According to the

PSR, Cudd stated, “I did not realize, at the time, that I was breaking the law when I walked inside

through open doors to the Capitol. When I said on TV that I didn’t do anything unlawful I

genuinely meant that I did not believe that I did anything illegal. I am not trying to absolve myself

of responsibility for entering the Capitol, but I wanted the court to know what I did not know at

the time I walked in.” PSR (ECF 86 at 9).

       On March 16, 2022, the defendant filed her sentencing memorandum, which included

similar sentiments. See Def. Sentencing Memorandum (ECF 89). Specifically, the memorandum

states, “Ms. Cudd did not realize that entering the Capitol building was a criminal offense at the

time she went in.” Id. at 42. In the sentencing memorandum, the defendant also requests sanctions

against the government for failing to timely provide exculpatory evidence, specifically the location

of Vice President Pence at the time Cudd entered the U.S. Capitol building. Id. at 35-38.

       On March 21, 2022, undersigned counsel spoke with defense counsel over the phone.

Undersigned counsel noted that the statements made in the memorandum and PSR appeared to be

a repudiation of one of Section 1752(a)(1)’s elements.        Undersigned counsel asked whether

defense counsel intended to repudiate these post-plea agreement statements or withdraw her plea.

Defense counsel notified government counsel that Cudd was not withdrawing her plea and did not

intend repudiate these post-plea agreement statements.




                                                  4
           Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 5 of 9




                                          ARGUMENT

    I.      Based on the defendant’s representations in the PSR and her sentencing
            memorandum, this case should not proceed to sentencing.

         In the defendant’s sentencing memorandum and with the defendant’s statements in the

PSR, the defendant repudiated an element of the offense. If the defendant persists in her

repudiation of the element of the offense, the government requests that the Court continue the

sentencing so that the government may determine the appropriate next steps, if any.

            a. The Defendant has repudiated an offense element.

         Under 1752(a)(1), the government is required to prove that the defendant “knowingly

enter[ed] or remain[ed] in any restricted building or grounds without lawful authority to do so.”

The defendant’s state of mind—i.e., that the defendant knowingly entered or remained in a

restricted area and knowingly lacked the authority to do so—is an element of the offense. Thus,

the Statement of Offense requires the defendant to admit that she, “knew at the time she entered

the U.S. Capitol Building that she did not have lawful authority to enter the building.” ECF 76

¶ 16.

         In the defendant’s sentencing memorandum and in the PSR, the defendant repudiated this

element of the offense. In the PSR, the drafter quotes Cudd as stating, “I did not realize, at the

time, that I was breaking the law when I walked inside through open doors to the Capitol. When I

said on TV that I didn’t do anything unlawful I genuinely meant that I did not believe that I did

anything illegal. I am not trying to absolve myself of responsibility for entering the Capitol, but I

wanted the court to know what I did not know at the time I walked in.” PSR (ECF 86 at 9).

         Cudd makes similar statements in her sentencing memorandum, filed March 16, 2022.

ECF 89. Cudd’s sentencing memorandum provides, “Ms. Cudd did not realize that entering the

Capitol building was a criminal offense at the time she went in.” Id. at 42.


                                                 5
          Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 6 of 9




       By stating that Cudd did not know at the time she entered the U.S. Capitol building that

she was not allowed to enter, Cudd is repudiating an element necessary to prove a conviction under

18 U.S.C. § 1752(a)(1).

           b. If the defendant persists in her repudiation, the Court should continue
              proceedings so the government may determine what steps, if any, are
              appropriate.

       The defendant has provided conflicting statements of fact to the government.             The

statements set forth in the PSR and in the defendant’s sentencing memorandum are in direct

conflict with the facts in paragraph 16 of the Statement of Offense, as agreed to by the defendant.

Since the defendant’s knowledge at the time she entered the restricted building or grounds is an

element, the government must determine whether it is appropriate to litigate a breach of the plea

agreement. If this is the case, the government requests that the Court continue the sentencing

currently scheduled for March 23, 2022, at 4:00 p.m. to provide the government time to determine

what steps, if any, are appropriate.

           c. At a minimum, the defendant should not receive credit under the plea
              agreement for acceptance of responsibility.

       If this matter does proceed to sentencing on Wednesday, this Court should not apply the

offense-level reduction under U.S.S.G. § 3E1.1 for acceptance of responsibility. Section 3E1.1(a)

provides that if a defendant “clearly” demonstrates acceptance of responsibility for her offense,

the offense level can be decreased by two levels. While entry of a guilty plea and admitting the

conduct comprising the offense of conviction and all relevant conduct is “significant” evidence of

acceptance of responsibility, such evidence can be outweighed by “conduct of the defendant that

is inconsistent with such acceptance of responsibility.”   See U.S.S.G. § 3E1.1, cmt. 3. For that

reason, the Sentencing Guidelines specifically state that “[a] defendant who enters a guilty plea is

not entitled to an adjustment under [§ 3E1.1] as a matter of right.” Id. Courts routinely deny the


                                                 6
           Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 7 of 9




acceptance of responsibility reduction to defendants whose post-plea conduct belies their claims

of contrition. See, e.g., United States v. Godfrey, 863 F.3d 1088, 1096 (8th Cir. 2017) (defendant

denied acceptance reduction based on repeated post-plea false statements claiming to have acted

in self-defense or to have discharged firearm in air, claims which were contradicted by surveillance

video and physical evidence); United States v. Guerrero, 768 F.3d 351, 365 (5th Cir. 2014)

(defendant convicted of assaulting corrections officer denied acceptance reduction for telling

probation that he felt the officer “disrespected” him and that “men have to understand the

consequences of disrespecting another man”); United States v. Wineman, 625 F.3d 536, 537-39

(8th Cir. 2010) (blaming others in internet posts).

   II.      Sanctions are not appropriate because there was no discovery violation.

         To prove a violation of 18 U.S.C. § 1752(a)(1), the government must prove that a defendant

“knowingly enter[ed] or remain[ed] in any restricted building or grounds without lawful authority

to do so.” A “restricted building or grounds” is defined as “any posted, cordoned off, or otherwise

restricted area . . . of a building or grounds where the President or other person protected by the

Secret Service is or will be temporarily visiting.” 18 U.S.C. § 1752(c)(1).

         In the defendant’s sentencing memorandum, she requests sanctions against the government

in the form of dismissal of this matter because of the government’s alleged failure to provide

exculpatory information—specifically, the exact location of Vice President Pence at the time Cudd

entered the U.S. Capitol building—in a timely manner. See ECF 89 at 35-38.

         On March 22, 2022, in United States v. Couy Griffin, 21-cr-92-TNM, this Court made a

finding that Vice President Pence was moved from his ceremonial office to a loading dock below

the Capitol building at 2:28 p.m. and remained there for a period of time. The Court further

determined that the loading dock below the Capitol was within the restricted area for purposes of

18 U.S.C. § 1752. Cudd entered the U.S. Capitol building at 2:35 p.m. Vice President Pence was

                                                 7
Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 8 of 9
         Case 1:21-cr-00068-TNM Document 92 Filed 03/22/22 Page 9 of 9




                                 CERTIFICATE OF SERVICE
       On this 22nd day of March, 2022, a copy of the foregoing was served on counsel of record

for the defendants via the Court’s Electronic Filing System.



                                                            /s/
                                                     LAURA E. HILL
                                                     Trial Attorney




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